                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CASE NO. 5:12-cr-00034-RLV-DSC-1

UNITED STATES OF AMERICA,                     )
                                              )
       v.                                     )       PRELIMINARY ORDER OF
                                              )       FORFEITURE
RAMON VARGAS,                                 )
                                              )
               Defendant.                     )
                                              )

       THIS MATTER is before the Court on the Government’s Motion for Preliminary Order

of Forfeiture. (Doc. 45.) The Superseding Bill of Indictment in this case included a notice of

forfeiture, as required by Federal Rule of Criminal Procedure 32.2(a). (Doc. 36.) On January 2,

2013, Defendant Vargas pleaded guilty to Count Three as set forth in the Indictment, which

charges Defendant with intentionally attempting to evade a currency reporting requirement under

31 U.S.C. § 5316 by knowingly concealing more than $10,000 in United States currency in a

conveyance and attempting to transport and transfer such currency from a place within the United

States to a place outside the United States, in violation of 31 U.S.C. § 5332(a)(1). (Docs. 41, 42.)

The Court finds that the requisite nexus has been established between the $604,750.00 in United

States currency, as specified in the Indictment, and the offense to which Defendant Vargas has

pleaded guilty, and that this property is subject to forfeiture per 18 U.S.C. § 981(a)(1) and 31

U.S.C. § 5332(b)(2) and (c).

       IT IS, THEREFORE, ORDERED that Defendant’s interest in the $604,750 be forfeit

and that such forfeiture be subject to any and all third-party claims and interests pending final

adjudication. Pending final adjudication, the Government is authorized to maintain custody of the

property and is to publish or send any notice pursuant to Federal Rule of Criminal Procedure

32.2(b)(6). Any person, other than Defendant, asserting any legal interest in the specifically

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identified property may, within thirty days of the publication of notice or the receipt of notice,

whichever is earlier, petition the Court for a hearing to adjudicate the validity of the alleged

interest. See 21 U.S.C. § 853(n); 28 U.S.C. § 2461(c). Following the Court’s disposition of all

timely petitions filed, a final order of forfeiture shall be entered. If no third party files a timely

petition, this Order shall become the final order and judgment of forfeiture, as provided by

Federal Rule of Criminal Procedure 32.2(c)(2), and the United States shall have clear title to the

property and shall dispose of the property according to law.

                                                    Signed: February 14, 2013




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